                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                  Case No. 7:23-cv-897



 IN RE: CAMP LEJEUNE TOXIC WATER                    REPLY MEMORANDUM OF LAW IN
 EXPOSURE LITIGATION                                SUPPORT OF IN SUPPORT OF
                                                    MOTION FOR PARTIAL SUMMARY
                                                    JUDGMENT OF PLAINTIFFS JAMES
 This document relates to:                          KEY, II, CAROL BASSANO, EDDIE
                                                    MAE MILLER, AND RACHAEL
 ALL CASES                                          ARMSTRONG ON CLJA LEGAL
                                                    REPRESENTATIVE PROCEDURE



       In response to Plaintiffs’ Leadership Group’s (“PLG”) Motion for Partial Summary

Judgment of Plaintiffs James Key, II, Carol Bassano, Eddie Mae Miller, and Rachael Armstrong

on CLJA Legal Representative Procedure, Defendant United States of America (“Defendant”)

concedes that partial summary judgment in favor of Carol Bassano and Rachael Armstrong is

appropriate because both Ms. Bassano and Ms. Armstrong filed administrative claims as legal

representatives of the individuals whose harms they allege. United States’ Response to Plaintiffs’

Motion for Partial Summary Judgment [D.E. 208]. The government further concedes that the

Court should also grant PLG’s motion as it applies to James Key, II and Patricia Key (the “Key

Siblings”), because although the Key Siblings did not file administrative claims as legal

representatives, they have since been appointed as legal representatives with respect to the claim

they had filed. Id. In light of the government’s concessions, the PLG respectfully requests that

the Court enter an order granting the PLG’s Motion with respect to Ms. Bassano, Ms. Armstrong

and the Key Siblings.

       As set forth in more detail in the PLG’s Memorandum in Support [D.E. 185], Ms. Miller

qualifies as a “legal representative” under the Camp Lejeune Justice Act (“CLJA”) by virtue of her


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qualification under Miss. Code Ann. § 11-7-13 (permitting wrongful death beneficiaries to assert

a claim for damages “whether an estate has been opened or not”). The government places undue

reliance on section 11-7-13’s distinction between a “personal representative” and a narrowly

defined beneficiary like Ms. Miller to support its argument that Ms. Miller must be appointed by

a court of competent jurisdiction to be a “legal representative” under the CLJA. The clear thrust

of section 11-7-13 is that as a practical matter, there are a number of specific people that can seek

justice for the death of a loved one, including a widow like Ms. Miller. That concept readily

qualifies those individuals as “legal representatives” under the CLJA because they are designated

by state law to seek vindication of the wrongful death of a deceased person. .

       The government expresses the concern that recognizing a person appointed under the

Mississippi statute may lead to the filing of duplicate claims with the Department of the Navy.

Duplicate claims, however, are an administrative issue that can be handled in a variety of ways.

Indeed, the PLG is working on a system to identify and resolve duplicate claims and would

welcome the Department of the Navy’s assistance with such effort. But concerns over duplicate

claims are not a justifiable basis to deny Ms. Miller recognition as a “legal representative” under

the CLJA

       The PLG disagrees with Defendant’s position that this Court lacks the power to clarify

issues raised in the PLG’s Memorandum in Support regarding equitable tolling and the statute of

limitations. There is obviously a case in controversy between the plaintiffs and the government.

As set forth in the Memorandum in Support, should the Court conclude that Ms. Miller or the other

plaintiffs do not currently qualify as legal representatives, that holding threatens to engender

widespread confusion and concern in light of the government’s position that the CLJA’s statute of

limitations, Section 804(j)(2), bars any plaintiff who does not file an administrative claim by




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August 10, 2024, from pursuing CLJA relief. In reaching legal holdings, federal courts routinely

explain the practical consequences of their decisions. Especially in massive litigation like this,

where every legal decision that this Court reaches may affect hundreds or even thousands of

people, the Court has ample authority to provide guidance. Clarifying that the CLJA does not bar

claims filed after August 10, 2024, would aid plaintiffs in understanding the practical consequences

of a ruling for the government (in whole or in part) on the instant motion.

               Finally, all of the foregoing matters implicate the Veterans’ Canon. The Supreme

Court has repeatedly applied “the canon that provisions for benefits to members of the Armed

Services are to be construed in the beneficiaries’ favor.” Henderson v. Shinseki, 562 U.S. 428, 441

(2011) (quoting King v. St. Vincent’s Hospital, 502 U.S. 215, 220 n.9 (1991)). The CLJA is

designed to benefit members of the Armed Services as compensation for the government’s deadly

mismanagement of Camp Lejeune. It thus must be construed broadly in favor of the injured

veterans and applied in a way so as not to create unnecessary hardships or burdens on veterans.

       For the foregoing reasons and the reasons stated in the PLG’s Memorandum in Support,

the PLG respectfully requests that the Court grant the PLG’s Motion for Partial Summary

Judgment of Plaintiffs James Key, II, Carol Bassano, Eddie Mae Miller, and Rachael Armstrong

on CLJA Legal Representative Procedure.




                                  Signatures on Following Page




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Date: June 5, 2024                                       Respectfully Submitted

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                                CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 5th day of June, 2024.



                                            /s/ J. Edward Bell, III________________

                                            J. Edward Bell, III




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